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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

UMG RECORDINGS, INC., et al.,
                                                §
                                                §
       Plaintiffs,
                                                §
                                                §       Civil Action No. 1:17-cv-00365-DAE-AWA
vs.
                                                §
                                                §
GRANDE COMMUNICATIONS
                                                §
NETWORKS LLC,
                                                §
                                                §
       Defendant.
                                                §
                                                §
      PLAINTIFFS’ OPPOSITION TO DEFENDANT GRANDE COMMUNICATIONS
      NETWORKS LLC’S MOTION FOR LEAVE TO FILE SUPPLEMENTAL BRIEF
            IN SUPPORT OF MOTION FOR EVIDENTIARY SANCTIONS

                                        INTRODUCTION

        This Court has repeatedly rejected Grande’s challenges to Plaintiffs’ evidence of

 infringement, including specifically the sufficiency of the Rightscorp data. Grande’s latest

 “supplemental” brief simply re-packages the same meritless arguments that Grande has made in

 the past. Indeed, as explained below, most of so-called “new” evidence was available to Grande

 before it completed its original briefing on the spoliation motion. There is no good reason for

 Grande to further burden the Court with yet more paper in service of Grande’s misguided effort to

 exclude the Rightscorp evidence. The “supplemental” brief fares no better than Grande’s many

 attacks that preceded it. The motion for leave to file the brief should be denied.

                                           ARGUMENT

        THE COURT ALREADY HAS INDICATED THAT GRANDE’S SANCTIONS MOTION SHOULD
        BE DENIED.

        In its March 15, 2019 Order Adopting the Magistrate Judge’s Report and Recommendation

 Regarding Summary Judgment [Dkt. 268] (“S.J. Order”)—issued after Grande filed its sanctions



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motion—the Court addressed and rejected Grande’s argument that the Rightscorp evidence is

inadmissible because of Rightscorp’s supposed evidence destruction:

       Grande argues that the Rightscorp evidence is precluded by the best evidence rule
       because “Rightscorp destroyed all records of its manual verification process,
       including any records of the alleged “original” songs that were used for
       comparison.” (Dkt. # 247 at 7; see also Dkt. # 252 at 29.) This argument is best
       suited for the trial context. … Moreover, even if the “original” evidence has been
       destroyed by the proponent, other evidence of content is admissible unless the
       destruction was the result of “the proponent acting in bad faith.” Fed. R. Evid. 1004.
       First, the alleged destruction was done by Rightscorp, which is not a party to this
       action, not the Plaintiffs, who are the proponents of the evidence at summary
       judgment and would be the proponents at trial. Second, Grande has presented no
       evidence that Rightscorp destroyed these “originals” at the behest of Plaintiff. In
       fact, Grande’s own motion for sanctions states that the RIAA, the trade group of
       Plaintiffs, “requires the BitTorrent monitoring company working on behalf of
       Plaintiffs to preserve all of this data as part of its copyright infringement evidence
       package.” (Dkt. # 247 at 7.) Nor did Grande present any evidence or argument that
       the originals were destroyed in bad faith. (See id.)

S.J. Order at 29-30 fn. 4. The Court went on to note that

       Grande again reiterates its best evidence rule argument related to Rightscorp song
       matching and downloading evidence. (See Dkt. # 252 at 34.) The Court has already
       addressed this argument and found it unpersuasive. See FN 4, supra.

Id. at 39 fn. 5. The same analysis applies to Grande’s proposed supplemental brief: Grande’s

arguments can be raised in the trial context; there is no evidence of bad faith; and no evidence was

destroyed at the behest of Plaintiffs. Nothing in the so-called “new evidence” that Grande cites in

its motion warrants revisiting the Court’s conclusion that Grande’s arguments are “unpersuasive.”

       GRANDE MISCHARACTERIZES WHEN IT RECEIVED THE EVIDENCE FOR WHICH IT
       CLAIMS IT NEEDS SUPPLEMENTAL BRIEFING.

       Grande claims that “essential information regarding the Rightscorp System was not

available to Grande prior to the deadline for filing its Reply brief.” Mot. for Leave [Dkt. 281] at

1. But that claim is incorrect. Nearly all of the materials Grande references in its motion for leave,

id., were given to Grande before it filed its reply on January 31, 2019 [Dkt. 260]: the “three

declarations submitted by Mr. Boswell” were filed on September 11, 2018, October 15, 2018, and


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January 17, 2019, respectively; the “rebuttal report and subsequent declaration submitted by

Plaintiffs’ technical expert, Ms. Barbara Frederiksen-Cross, which relied on conversations with

Mr. Boswell,” were submitted on August 31, 2018 and January 17, 2019, respectively; the “source

code change logs for the Rightscorp System,” were produced on December 28, 2018; and “a series

of contracts, bid proposals and related notes involving the RIAA and Rightscorp” were produced

on January 25, 2019. Grande fails to explain why it could not have addressed these materials in

its opening or reply briefs filed in January.

       The only items Grande lists that post-dated its reply brief are “a spreadsheet reflecting

certain outputs from the Rightscorp System,” which Grande received on February 27, 2019, and

the supplemental deposition of Rightscorp employee Greg Boswell, which occurred on June 26,

2019. Grande does not even reference the former in its proposed supplemental brief; and, as

explained below, its discussion of Mr. Boswell’s deposition testimony is incomplete and

misleading.

       GRANDE MISSTATES THE SUBSTANCE OF THE “NEW” EVIDENCE AND ITS IMPORTANCE
       FOR ITS SANCTIONS MOTION AND THE CASE IN GENERAL.

       Grande first claims that “Rightscorp and Plaintiffs Destroyed All of the Infringement

Evidence They Allegedly Collected from Grande’s Subscribers.” Supp. Brief [Dkt. 281-2] at 1.

As an initial matter, Grande’s assertion about “Plaintiffs” is completely unsupported. Grande fails

to point to any involvement by Plaintiffs in Rightscorp’s supposed conduct. Indeed, per above,

the Court already has observed that there is no evidence Plaintiffs were involved. Moreover,

Grande’s brief on this issue simply asserts that Mr. Boswell confirmed Rightscorp does not retain

this information, see id. at 3, and then reargues the points Grande already made in its original

spoliation motion about why this is significant. Significantly, however, Grande did not elicit

testimony from Mr. Boswell that contradicts what Plaintiffs, Mr. Boswell, and Barbara



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Frederiksen-Cross explained in Plaintiffs’ opposition to Grande’s original motion: “Grande asserts

that ‘Rightscorp uses this data [“bitfield, “have,” “request,” and “choke” data]—and this data

alone—to conduct its infringement analysis against Grande’s subscribers.’ That is incorrect:

Rightscorp does not use the latter three data categories in its operation. Finally, the bitfield

information is cumulative of the Rightscorp notices and is not required to evaluate the system’s

operation.” Pls’ Opp. to Grande Mot. for Sanctions [Dkt. 253] at 9 (internal citations omitted).

       In fact, the “new evidence” from Mr. Boswell actually supports Plaintiffs’ argument, not

Grande’s. In portions of his supplemental deposition testimony that Grande did not put before the

Court, Mr. Boswell confirmed Plaintiffs’ argument with regard to the bitfield data: “We have

generated a notice because we said, hey, we want – we want to know what you have – present the

data that they have and they give us our bit field and we compare our bit field and generate a

notice.” Ex. 1, Boswell Dep. at 432:10-13. Grande claims “Plaintiffs make the specious argument

that bitfield data is ‘cumulative’ of Rightscorp’s notices, but Mr. Boswell confirmed—as he

must—that Rightscorp’s notices do not contain bitfield information.” Supp. Br. at 3 fn. 4. But

this elides Plaintiffs’ point: the bitfield information is simply a binary yes/no answer with respect

to whether a subscriber “is offering the full work.” B. Frederiksen-Cross Decl. [Dkt. 254-1] ¶¶

30-32. That information is captured when the Rightscorp system generates a notice reflecting that

the subscriber has offered the work identified in the notice. Id.

       Grande also ignores the various other sources of information that corroborate the validity

of the notices, such as: the source code showing how the Rightscorp system generates notices;

audio files downloaded by Rightscorp that correspond with the notices; and Ms. Frederiksen-

Cross’s independent testing of the Rightscorp system’s ability to detect infringement (something

Grande and its expert never did). Grande thus is incorrect when it asserts that “[w]ithout the

information exchanged between Rightscorp and the subscriber’s computer, it is impossible to

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refute or validate the bare allegations set forth in Rightscorp notices.” Supp. Br. at 4. There is no

meaningful information that Grande lacks for evaluating the Rightscorp notice system.1

       Grande next claims that “Rightscorp and Plaintiffs Destroyed All of the Evidence

Reflecting Failed Attempts to Download Files from Grande’s Subscribers.” Supp. Br. at 4.2

According to Grande, “Mr. Boswell admitted that Rightscorp initially stores data reflecting failed

download attempts on a hard drive, but that the system is designed to subsequently delete all of

this material evidence. See Ex. 2 at 439:24–442:2.” Supp. Br. at 5. But Grande’s assertion is false.

Mr. Boswell testified unequivocally that Rightscorp never records instances of failed download

data in the first place (to the extent they even occur), and thus cannot be said to have “delet[ed] all

of this material evidence” as Grande asserts:

       Q. There are instances in which SampleIt2 is instructed to go out and get a file
       and doesn’t get it; right?
       A. Yes.
       Q. Okay. Do you record those instances?
       A. No.
       Q. Is there any evidence relating to how frequently SampleIt2 attempts to
       download a file and fails?
       A. No.




1
  As it did in its original spoliation motion, Grande refers to an eight-year-old agreement between
RIAA and another company, MarkMonitor, as supposed support for its argument that the data
packet information is important and should be preserved. Supp. Br. at 2. But the Court already
held that this sort of evidence concerning other infringement detection companies related to
voluntary agreements with other ISPs is irrelevant. Order at 3 [Dkt. 191]. And as Frederiksen-
Cross explained, comparisons between Rightscorp and MarkMonitor are misleading and
inapposite. B. Frederiksen-Cross Decl. [Dkt. 254-1] ¶¶ 5-6. Nor does the fact that an RIAA
request for proposal document—related to the same voluntary agreements with other ISPs, not
including Grande—asked vendors to maintain “evidence packages” (Supp. Br. at 2) mean that
without the raw data in those packages one cannot assess the Rightscorp system; as explained
above and as Grande does not refute, the extensive information in the source code, the notices, and
the downloaded files validate the Rightscorp system’s effectiveness.
2
  Again, Grande falsely asserts that Plaintiffs destroyed evidence. In fact, Plaintiffs were not
involved in Rightscorp’s supposed conduct, and Grande points to no evidence to the contrary.

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Ex. 2 to Brophy Decl. [Dkt. 281-4], Boswell Dep. at 439:24-440:8 (emphasis added). Putting aside

this mischaracterization of the evidence, Grande is simply wrong that instances where Rightscorp

attempts to, but cannot, obtain an audio file are probative of the Rightscorp system’s ability to

detect infringement. As Mr. Boswell explained in his deposition, there are multiple reasons why

Rightscorp would be unsuccessful in obtaining an audio file having nothing to do with the

reliability of the Rightscorp system, such as an “IP and port address is no longer on – they may

have jumped off since [we first detected the user offering to distribute the file].” Ex. 1, Boswell

Dep. at 429:7-11.

       Grande also raises the alleged disparity between the number of notices Rightscorp sent and

the number of works it downloaded as a supposed indictment of the Rightscorp system. Supp. Br.

at 4-5. This alleged disparity is a red herring. It has nothing to do with spoliation of evidence, and

is way off base. That Rightscorp downloaded fewer files than it sent notices does not, as Grande

tries in vain to argue, mean that “the targeted Grande subscriber did not actually possess—or was

unwilling to share—the song at issue.” Id. at 5. As Mr. Boswell testified in his deposition,

Rightscorp was only running “a very small pool” of “bots” to download Grande files during the

relevant time frame. Ex. 1, Boswell Dep. at 448:14-15. And he explained, in no uncertain terms,

that Rightscorp’s file downloading “tool is just for the purposes of downloading a sample from

someone randomly through the process. It is not designed to go out and pound them every time

a notice is generated to download another sample from someone. It’s just a random sampling

through the system.” Id. at 522:23-523:3 (emphasis added).3


3
  Grande once again mischaracterizes the evidence when it claims that “[f]ailed download evidence
is highly material to Plaintiffs’ infringement claim. The RIAA knows this, which is why it requires all
infringements be ‘verified’ before a notice is generated. See, e.g., Ex. 1 (Rightscorp RFP Response) at
RIAA_00060095 (verification requires, at a minimum, the commencement of a file download “to
prove that the user was offering the file...”).” Supp. Br. at 5 fn. 10. But the RIAA RFP actually
“requests responses on two possible methods of verification of infringements, namely … Full

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                                         CONCLUSION

       There is no good reason for Grande to be allowed to file its meritless supplemental brief in

support of a sanctions motion that itself is without merit and which the Court already has indicated

would not be granted. The Court should deny Grande’s motion for leave.


Dated: July 26, 2019                         Respectfully submitted,

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Download Verification … [or] Hash Based Verification.” Ex. 1 to Brophy Decl. [Dkt. 261-3], at
RIAA_00060094-95 (emphasis added). As the Court itself acknowledged, Rightscorp’s system
performs hash based verification: “[t]he system uses ‘hash values’ to monitor BitTorrent networks
to identify copies.” Report and Recommendation [Dkt. 240] at 6.

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                                CERTIFICATE OF SERVICE

       The undersigned certifies that on July 26, 2019, all counsel of record who are deemed to
have consented to electronic service are being served with a copy of this document via the Court’s
CM/ECF system pursuant to Local Rule CV-5(b)(1).


                                             /s/ Daniel C. Bitting
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